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8                           UNITED STATES DISTRICT COURT
9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             No. CV 23-1284
                                               [CR 02-1229-ER -1]
12             Plaintiff,
                                            WRIT OF CONTINUING
13                    v.                    GARNISHMENT
14   CHASITY JONES,
                                               [OPEN BANK]
15             Defendant.

16                                         [28 U.S.C. § 3205(c)(1)]
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1    TO GARNISHEE OPEN BANK:
2            The United States has filed an application for a writ of continuing garnishment
3    against the nonexempt funds, assets, and/or property of defendant-judgment debtor
4    Chasity Jones (“Defendant”), in the possession, custody, or control of garnishee
5    Open Bank (“Garnishee”). This writ of continuing garnishment is an enforcement action
6    by the United States against Defendant in connection with the criminal judgment debt
7    entered in United States v. Chasity Jones, CR 02-1229-ER-1, by the United States
8    District Court for the Central District of California.
9    (1)     This WRIT OF CONTINUING GARNISHMENT IS ISSUED against Defendant
10           as to Garnishee for Defendant’s nonexempt funds, assets, and/or property in the
11           possession, custody, or control of Garnishee.
12   (2)     On or about March 18, 2004, the Court imposed the following criminal judgment
13           debt against Defendant:
14               Restitution: $182,969.00 plus interest, if applicable;
15               Special assessment: $100.00.
16   (3)     As of February 16, 2023, the principal balance of Defendant’s criminal debt is
17           $115,579.73.
18   (4)     The name and addresses of Garnishee or Garnishee’s authorized agent is:
19                        Open Bank
                          Attn: Min J. Kim
20
                          1000 Wilshire Blvd. #500
21                        Los Angeles, CA 90017
22   (5)     The address for plaintiff United States of America is:
23                        United States Attorney’s Office
                          Asset Forfeiture and Recovery Section
24
                          Federal Building, Suite 7516
25                        300 N. Los Angeles Street
                          Los Angeles, California 90012
26
     (6)     Defendant’s Social Security Number is: ***-**-2201. Defendant’s last known
27
             address is in Los Angeles, California.
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                                                      2
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1    (7)     Counsel for plaintiff United States of America is:
2                         Robert I. Lester, Assistant United States Attorney
                          Federal Building, Suite 7516
3
                          300 North Los Angeles Street
4                         Los Angeles, California 90012
5
             Pending further and final order from the Court, Garnishee is ordered to withhold
6
     and retain any funds, assets, and/or property of Defendant in the possession, custody,
7
     or control of Garnishee, beginning immediately until further order from the Court.
8
     28 U.S.C. § 3205(c)(2)(F).
9
             GARNISHEE SHALL ANSWER THIS WRIT in writing, under oath, within
10
     TEN (10) DAYS after service of the writ of continuing garnishment and shall respond
11
     therein to the following questions:
12
             (A) Whether Garnishee has possession, custody, or control of any property of
13
                 Defendant;
14
             (B) What is a description of the property and the value thereof;
15
             (C) Whether Garnishee owed Defendant any debt on the date the writ was
16
                 served and the amount and basis of the debt; and
17
             (D) Whether Garnishee anticipates owing any debt to Defendant in the future.
18
             GARNISHEE SHALL file the original answer to this writ within ten (10)
19
     days of receipt of this writ with the Clerk of the United States District Court,
20
     255 E. Temple Street, Room 180, Los Angeles, California 90012. Additionally,
21
     Garnishee is required to serve a copy of the answer on Defendant, on the attorney for
22
     plaintiff United States of America: Robert I. Lester, Assistant United States Attorney,
23
     Asset Forfeiture and Recovery Section, Federal Building, Suite 7516, 300 North Los
24
     Angeles Street, Los Angeles, California 90012, and on any interested party.
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1         IF YOU FAIL TO ANSWER THIS WRIT OR WITHHOLD AND RETAIN
2    PROPERTY IN ACCORDANCE WITH THIS WRIT, THE UNITED STATES OF
3    AMERICA MAY PETITION THE COURT FOR AN ORDER REQUIRING YOU
4    TO APPEAR BEFORE THE COURT. IF YOU FAIL TO APPEAR OR DO APPEAR
5    AND FAIL TO SHOW GOOD CAUSE WHY YOU FAILED TO COMPLY WITH
6    THIS WRIT, THE COURT MAY ENTER A JUDGMENT AGAINST YOU FOR
7    THE VALUE OF THE DEBTOR’S NONEXEMPT PROPERTY AS WELL AS
8    REASONABLE ATTORNEY’S FEES.
9         IT IS UNLAWFUL TO PAY OR DELIVER TO DEFENDANT ANY
10   PROPERTY LEVIED UPON BY THIS WRIT UNTIL FURTHER ORDER OF
11   COURT.
12        The garnishment is continuing in nature and shall constitute a lien against
13   Defendant’s nonexempt property.
14        The garnishment shall continue and survive until any of the following occurs:
15        (a) The debt is satisfied in full;
16        (b) The property in the possession, custody, or control of Garnishee is exhausted;
17        (c) Plaintiff United States has released the garnishment; or
18        (d) The Court orders that the garnishment be quashed.
19
     DATED: February __, 2023.
20                                        CLERK, UNITED STATES DISTRICT COURT
                                          By: DEPUTY CLERK
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